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UNITED STATES BANKRUPTCY COURT                      Hearing Date: TBD
SOUTHERN DISTRICT OF NEW YORK                       Hearing Time: TBD
____________________________________X

IN RE:
                                                    CH. 7
EDWARD F. MILLER,                                   Case No. 18-22449

                  Debtor.
____________________________________X

               NOTICE OF MOTION TO QUASH SUBPOENA A
               ND OBJECTION TO 2004 EXAMINATION

         PLEASE TAKE NOTICE that on ______________, 2018 at 10:00 a.m. or as soon

thereafter as counsel can be heard, GIOVANNA LAMPO BATTAGLIA (“Giovanna”), by and

through her attorney, Charles A. Higgs, Esq. will move before the Hon. Robert D. Drain, at the

United States Bankruptcy Court for the Southern District of New York, 300 Quarropas Street,

White Plains, NY for an Order Quashing the non-party Subpoena issued by Sonic Arts

Entertainment, LLC and the Chapter 7 Trustee, Mark Tulis, directing the oral examination of,

and production of documents by, Giovanna.



Dated: September 6, 2018
New York, NY                                        /S/ Charles A. Higgs
                                                    ___________________________
                                                    Charles A. Higgs, Esq.
                                                    Law Office of Charles A. Higgs
                                                    Attorney for Giovanna
                                                    115 E. 23rd Street, 3rd FL
                                                    NY, NY 10010
                                                    (917) 673-3768
                                                    Charles@FreshStartEsq.com
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UNITED STATES BANKRUPTCY COURT                        Hearing Date: TBD
SOUTHERN DISTRICT OF NEW YORK                         Hearing Time: TBD
____________________________________X

IN RE:
                                                      CH. 7
EDWARD F. MILLER,                                     Case No. 18-22449

                  Debtor.
____________________________________X

 MEMORANDUM OF LAW IN SUPPORT OF THE MOTION OF GIOVANNA LAMPO
 BATTAGLIA (1) TO QUASH THE NON-PARTY SUBPOENA OF SONIC ARTS AND
  MARK TULIS; AND (2) OPPOSING THE APPLICATION OF SONIC ARTS AND
  MARK TULIS FOR AN ORDER PURSUANT TO RULE 2004 OF THE FEDERAL
                  RULES OF BANKRUPTCY PROCEDURE

         GIOVANNA LAMPO BATTAGLIA (“Giovanna”), by and through her attorney, Charles

A. Higgs, Esq., submits the following memorandum of law in support of Giovanna’s Motion to

Quash the Subpoena of Sonic Arts Entertainment, LLC (“Sonic Arts”) and the Chapter 7 Trustee,

Mark Tulis (the “Chapter 7 Trustee”) and in Opposition to the application of Sonic Arts and the

Chapter 7 Trustee.

                                    PRELIMINARY STATEMENT

         On March 26, 2018, Edward F. Miller (the “Debtor”) filed a voluntary petition for relief

under Chapter 7 of the Bankruptcy Code. Thereafter, the Bankruptcy Court entered an Order

granting the ex-parte Application of Sonic Arts and the Chapter 7 Trustee for an Order Pursuant

to Bankruptcy Rule 2004 directing Giovanna to appear for examination and for related relief (the

“2004 Motion”). On August 23, 2018, the Order granting the 2004 Motion and a subpoena of

Sonic Arts and the Chapter 7 Trustee were served on Giovanna. The 2004 Motion and related

Subpoena serve no legitimate purpose but are instead being used to furthering the objective of
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Sonic Arts to harass Giovanna in hopes that harassing Giovanna will put pressure on the Debtor

to resolve whatever issues may exist between the Debtor and Sonic Arts. It is telling that it was

the Creditor, Sonic Arts, and not the Chapter 7 Trustee, that signed the 2004 Motion and the

related Subpoena. This demonstrates that the 2004 Motion and related subpoena are being driven

primarily to further the objectives of Sonic Arts. For the reasons below, the Court should (1)

Quash the Subpoena, (2) relieve Giovanna of any of the obligations set forth in the Order

Granting the 2004 Motion, and (3) deny the 2004 Motion in its entirety.

                                     LEGAL ARGUMENTS

       Fed. R. Bankr. P. 2004 “provides in relevant part that the Court may authorize the

examination of any entity relating "to the acts, conduct, or property or to the liabilities and

financial condition of the debtor, or to any matter which may affect the administration of the

debtor's estate.” In re SunEdison, Inc., 562 B.R. 243, 249 (Bankr. S.D.N.Y. 2017). The party

requesting examination pursuant to Fed. R. Bankr. P. 2004 carries the burden of demonstrating

good cause for the examination it seeks. See In re SunEdison, Inc., 562 B.R. at 249. “A party

seeking to conduct a Rule 2004 examination typically shows good cause by establishing that the

proposed examination is necessary to establish the claim of the party seeking the examination, or

. . . denial of such request would cause the examiner undue hardship or injustice.” Id. citing In re

Metiom, Inc., 318 B.R. 263, 268 (S.D.N.Y. 2004).

        “In evaluating a request to conduct a Rule 2004 examination, the Court must balance the

competing interests of the parties, weighing the relevance of and necessity of the information

sought by examination. That documents meet the requirement of relevance does not alone

demonstrate that there is good cause for requiring their production.” In re SunEdison, 562 B.R. at

249 citing Drexel Burnham, 123 B.R. at 712; accord In re Coffee Cupboard, Inc., 128 B.R. 509,
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514 (Bankr. E.D.N.Y. 1991); In re Fearn, 96 B.R. 135, 138 (Bankr. S.D. Ohio 1989) (“While the

scope of Rule 2004 examination is very broad, it is not limitless. The examination should not be

so broad as to be more disruptive and costly to the party sought to be examined than beneficial to

the party seeking discovery.”) [C]ourts may “limit, condition or even forbid the use of Rule

2004” where it is used to "abuse or harass. . . .” In re Transmar Commodity Group, 2018 Bankr.

LEXIS 2473 (Bankr. S.D.N.Y. Aug. 17, 2018) citing Martin v. Schaap Moving Sys., Inc., No.

97-5042, 1998 U.S. App. LEXIS 15255, 1998 WL 405966, at *3 (2d Cir. April 20, 1998)

(quoting In re Mittco, Inc., 44 B.R. 35, 36 (Bankr. E.D. Wisc. 1984). Here the 2004 Motion and

related subpoena seek information that is readily available or to the extent the requested

information sought exists can be obtained from the Debtor. Additionally, the Creditor appears to

be seeking information related to a judgment in a state court case, as such Rule 2004 is

procedurally improper and standard discovery rules should apply.



       The Subpoena does not appear to comply with the requirements set forth in Fed. R. Civ.

P. 45(a)(D)(4) as it is not clear that the subpoena was served on other parties prior to service

upon Giovanna. Furthermore, the Subpoena is unduly burdensome upon Giovanna.

                                         CONCLUSION

       For the reasons set forth above the 2004 Motion should be denied and the Subpoena

should be Quashed.

Dated: September 6, 2018                              /s/ Charles A. Higgs
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